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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRlCT OF FLORIDA

CaseNO. 09- 82§§8

 

 

 

 

 

ROBERT C. LEWIN, individually, )
and BROWARD REHAB CENTER INC. ) C
) -
Plaintiffs ) |V RYS KA wl P
) MAGISTRATE J'UDGE
v. ) Vl'l`UNACl
) F"-ED by_d&_ D.c.
RAFAEL FOSS, individually, 888-444-PAIN, )
INC. and ACCIDENT AND WELLNESS ) §C 2 2 2[§@9
CENTERS LLC )
STEVEN M. LAREMORE
) cLERK u. S. olsr. cr
Defendants. ) S' D~ °f FLA~ “ MIAM|
)
COMPLAINT

Plaintiffs, Robert C. Lewin and Broward Rehab Center, lnc., by and through their

attorneys, hereby allege as follows:
JURISDICT!ON & VENUE

l. This is an action for service mark infringement, unfair competition and
cyberpiracy under the United States Trademark (“Lanham”) Act, 15 U.S.C. §§ 1051 et seq. This
Court has subject matter jurisdiction under § 39 of the Federal Trademark Act, 15 U.S.C. §
112l(a), §43 of the Lanham Act and the Judicial Code 28 U.S.C. §§ 1331 and 1338(b). This
Court has supplemental jurisdiction of the state statutory and common law claims under 28
U.S.C. §§ 1338(b) and l367(a). This complaint asserts claims for federal service mark
infringement in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114; for false
designation of origin in violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125(a) and (c);

for Cyberpiracy in violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125(d); for state

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service mark and trade name infringement under Florida Trademark Act (Fla. Stat. §495.001, et
seq.) and the common law of Florida.
2. This Court has jurisdiction and venue over this action and the parties based on the

fact that all parties are domiciled in Florida.

THE PARTIES
3. Plaintiffs, Robert C. Lewin is now, and at all times mentioned, an individual
resident of Florida.
4. Broward Rehab Center Inc. is a Florida corporation with a principle address of

2659 W. Oakland Park Blvd, Oakland Park, Florida 33311.

5. Robert C. Lewin is the owner and registrant of the mark 411PAIN, Registration
No. 2,621,497 and Broward Rehab Center lnc. has the exclusive license to use, and sub-license,
the mark 411PAIN. Hereinafter, Robert C. Lewin and Broward Rehab Center Inc. will be
referred to collectively as “Broward Rehab.”

6. Defendant Rafael Foss is domiciled in Florida with an address of 4212 Northlake
Blvd., Palm Beach Gardens, Florida 33410.

7. Defendants 888-444-PAIN, INC. and Accident and Wellness Centers LLC have a
business address of 4112 Northlake Blvd., Palm Beach Gardens, Florida 33410 and are
organized under the laws of Florida. lts registered agent for service of process is Rafael Foss
located at 4212 Northlake Blvd, Palm Beach Gardens, Florida 33410

SUMMARY OF THE COMPLAINT

8. This action for service mark infringement, unfair competition, and cyberpiracy
brought by l\/lr. Lewin and Broward Rehab under the provisions of the United States Trademark
(“Lanham”) Act against Rafael Foss’s, 888-444-PAIN, INC.’s and Accident and Wellness

Centers LLC’s use of the mark 888-444-PAIN, the trade name 888-444-PAIN, INC. and the

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domain name 888444PAIN.COM, based on Plaintiffs’ prior use and federal registration of the
service mark 411PAIN and the common law use of 800-411PAIN and 4llPAlN.COl\/1. Since at
least as early as the summer of 1996, Mr. Lewin and his partner Mr. Guy Shapiro, now deceased,
used the mark 411PAIN in combination with the mark 800-411-PAIN and its associated phone
number for among other things, “advertising agency services” and for “providing medical
information in the field of pain and general health care services.” At least as early as 1998 Mr.
Lewin, Mr. Shapiro and Broward Rehab Center Inc. published in various media a series of
advertisements which featured a vehicle crash and then an authority figure (such as a police
officer with a police cruiser, an EMT with ambulance, a fireman with a fire truck, etc.)
conveying to the viewers that if they called the phone number associated with the mark 800-
411PAIN or went to the web pages located at 411PAIN.COM they could get help after being
injured in an vehicular accident, in a slip and fall accident or in a work related injury and receive
information as to what to do next to protect themselves Currently, these advertisements are
extremely well known and associated with Mr. Lewin through his company Broward Rehab
Center lnc. (collectively referred to as “Broward Rehab”).

9. Subsequent to Broward Rehab’s prior adoption and use of the 411PAIN mark and
the domain name 411PAIN.COM and its expenditures of millions of dollars in advertising that
has featured the mark 411PAIN, the domain name 411PAIN.COM and the mark 800-411PAIN
with its associated phone number, defendants Rafael Foss, 888-444-PAIN, INC. and Accident
and Wellness Centers LLC willfully and intentionally used the confusingly similar mark 888-
444-PAlN and the associated phone number 888-444-7246 in various media advertisements in
the South Florida area to divert potential consumers intended for Broward Rehab to Rafael Foss

and his agents all without Broward Rehab’s consent, authorization and approval

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10. Further, Rafael Foss, 888-444-PAIN.COM, INC. and Accident and Wellness
Centers, LLC knowingly, willfully and in bad faith acquired, maintained and/or used the domain
name 888444PAIN.COM in various media advertisements in the South Florida area to trade off
the goodwill of Broward Rehab’s marks for its commercial purposes, including generation of
substantial revenues by diverting Intemet traffic intended for Broward Rehab to the
888444PAIN.COM web site which advertised and promoted, among other things, medical
information, general health care services and general information regarding what to do next
when involved in an accident - the same services as offered by Broward Rehab.

11. Broward Rehab seeks a preliminary and permanent injunction, transfer of the
domain name 888444PAIN.COM to Broward Rehab, damages, profits, statutory damages,
attorneys fees and costs and other relief as more fully set forth below.

STATEMENT OF FACTS

12. As early as 1997, Robert Lewin and his partner Guy Shapiro, now deceased,
began advertising the mark 800-411PAIN and its associated phone number 800-411-7246 as a
pain information hotline and in 1998 obtained the domain 411PAIN.COM to use as one type of
media to advertise the hotline. The two partners, as well as Broward Rehab Center lnc.,
published in various media, including but limited to, radio and television, a series of
advertisements and collectively have spent millions of dollars in connection with this
advertising From 1998 through the October 2009, an excess of $13,200,000 has been spent in
advertising the mark 411PAIN, the mark 800-411PAIN with its associated phone number 800-
411-7246 and the domain 411PAlN.COl\/l.

13. Robert Lewin is the owner of the incontestable United States Service Mark
411PAIN, Registration No. 2,621,497, for “advertising agency services and providing medical

information in the field of pain and general health care services.” A copy of the United States

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Certificate of Registration for the mark 411PAIN along with advertisements showing the mark as
used are attached hereto as Exhibit 1. This registration is valid and subsisting and in full force
and effect and has been promoted throughout the United States.

14. On or about February 6, 2009, after the death of Mr. Shapiro, the Estate of Guy
Shapiro assigned all rights to the jointly owned intellectual property to Robert C. Lewin.
Attached hereto as Exhz`bit 2 is a true and correct copy of the Assignment.

15. On or about November 1997, Mr. Lewin obtained a license for the toll free
number 800-411-7246 that is associated with the advertised 800-411PAIN mark, which is an
open and visible use of the 411PAIN mark in the telephone number, and Broward Rehab began
promoting it as a brand identifier for medical services, medical information services and general
information regarding what to do when involved in any type of accident, be it a slip and fall or in
a work related injury in various media advertising in the South Florida area. See Lewin
Declaration.

16. On or about June 30, 1998, Mr. Lewin registered the domain name
<www.41 lPAIN.com>, which is an open and visable use of the 411PAIN mark in the domain
name. Broward Rehab promoted the domain as a brand identifier in various media
advertisements in the South Florida area for its services via the web pages located at the
411PAIN.COM domain. As a result of the promotional efforts, the distinctive 411PAIN.COM
mark became associated with medical information services, general health care services and
general information regarding what to do when involved in any type of accident, be it a slip and
fall or in a work related injury. See Lewin Declaration.

17. Due to Broward Rehab’s promotional efforts, the distinctive mark 411PAlN,
which is also incorporated in the advertised mark 800-411PAIN (associated With the telephone

number 800-411-7246) and the domain 411PAIN.COM, the 411PAIN marks have become

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associated exclusively with Broward Rehab’s medical information, health care services, and a
means for obtaining general information regarding what to do when involved in any type of
accident, be it a slip and fall or in a work related injury. Broward Rehab has substantial common
law rights to the distinctive marks 800-411PAIN and 411PAIN.COM.

18. As a result of the supervision and control exercised by Broward Rehab’s over the
nature and quality of the services offered in connection with the 411PAIN marks, and the
extensive advertising, sale and public acceptance of the marks, these distinctive marks have
acquired celebrity symbolizing the extensive goodwill that Broward Rehab had created
throughout the United States. Therefore, the distinctive 411PAIN marks have acquired
significant secondary meaning in the minds of the relevant public and have become famous.

19. ln light of the fame and celebrity of the distinctive 411PAIN marks, Broward
Rehab’s marks have become an asset of enormous, if not incalculable, value to Broward Rehab.

20. Long after Mr. Lewin’s and Broward Rehab’s first use of the 411PAIN marks and
long after the marks acquired secondary meaning and become famous, Mr. Foss, 888-444-PAIN,
INC. and Accident and Wellness Centers LLC (hereinafter, collectively referred to as “Foss &
Companies”) acquired, maintained, used and continues to use in various media advertising
throughout the South Florida area the marks 888-444-PAIN and 888444PAIN.COM, the domain
name “888444pain.com” and as the trade name 888-444-PA1N, INC. to identify its services
related to disseminating medical information, health care services, and a means for disseminating
information to the public about what to do next when injured in any type of accident _ the same
services as offered by Broward Rehab. See Lewin Declaration. Attached as Exhl`bit 3 is a true
“screen capture” of the web page from Big Mouth Advertising, located on the internet at
BIGMOUTHADVERTISING.COM showing Accident and Wellness Centers LLC as a new

client of Big Mouth Advertising with the contact number of 888-444-PAIN and the Intemet web

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address of www.888444PAfN.com. Attached, as Exhibit 4 is a true “screen capture” of the web
page located at ACCIDENTANDWELLNESS.COM showing Mr. Foss associated with the
Accident and Wellness Centers LLC.

21. Upon information and belief, Rafael Foss is the registrant of the domain name
888444PAlN.COl\/1. Upon information and belief, Rafael Foss paid Channel 39 for the
commercial advertising of 888-444-PAIN and is the registrant of the domain name
888444PA1N.COM.

22. The services being advertised by Foss & Companies are competitive with, related
to or complement the services advertised, promoted and offered by Broward Rehab in connection
with its well recognized and famous 411PAIN marks. Foss & Companies’ advertisements in the
media will be encountered by the same or a similar class of purchasers as those that are
interested in or familiar with the services offered by Broward Rehab, or are the focus of Broward
Rehab’s 411PAIN advertising Moreover the channels of trade at issue are the same.

23. The use of 888-444-PAIN in its advertisement, 888444PAIN.COM as a domain
name and 888-444-PAIN, INC. as a trade name, is likely to cause confusion with and/or dilute
Broward Rehab’s registered 411PAIN mark and the common law marks 800-411PAIN and
411PAlN.COl\/1, in view of the fact that Foss & Companies’ use of 888-444-PAIN and
888444PAIN.COM are confusingly similar because the mark and domain name are being used
for the exact same services as offered by Broward Rehab creating a directly competitive
situation.

24. Foss & Companies’ use of 888-444-PAIN and the associated telephone number
888-444-7246 is calculated to divert consumers seeking Broward Rehab to call a confusingly

similar phone number associated with Foss & Companies by creating the false belief that there is

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an association or affiliation between Foss & Companies and Broward Rehab. On information and
belief, F oss & Companies profit from such confusing and unauthorized use of 888-444-PAIN.

25 . Foss & Companies’ use of 888-444-PAIN has been undertaken deliberately, with
knowledge of Broward Rehab’s prior use of the famous 411PAIN marks and with the willful
intent to cause mistake, to deceive and/or to confuse consumers into believing that Broward
Rehab sponsors or approves of Foss & Companies’ use of 888-444-PAIN and
888444PAIN.COM, thus causing injury to Broward Rehab.

26. Foss & Companies continue to use 888-444-PAIN in its advertising and to benefit
from such use. As a result of their unlawful acquisition and use of 888-444-PAIN, Broward
Rehab has lost control over its 411PAIN marks as Foss & Companies continues to trade off the
brand recognition and goodwill established and represents a serious threat to Broward Rehab’s
lawful rights, including the rights granted to Mr. Lewin pursuant to 15 U.S.C. §§ 1057(b) and
1115.

27. Foss & Companies continue to own the domain 888444PAIN.COM, which
continues to be advertised on a third party web site, and such a registration and use infringes
Broward Rehab’s service mark rights. (See Exhibit 4 the domain name 888444PAIN.COM
advertised in conjunction with the company Accident and Wellness Center LLC).

28. On or about August 12, 2009, after learning that Mr. Foss/Accident and Wellness
Centers LLC paid for the media advertisements that included the 888-444-PAIN mark and its
associated phone number 888-444-7246, Plaintiffs’ attorneys sent Mr. Foss a certified letter
advising him of Mr. Lewin’s rights and requesting, among other things, that he cease all use of
888-444-PAIN. Attached hereto as Exhibit 5 is a true copy of the August 12, 2009 Letter with a

copy of the signed returned receipt showing delivery.

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29. The August 12, 2009 letter was sent by certified mail to Mr. Foss at 4212
Northlake Blvd., Palm Beach Gardens, FL, the same address as that listed for 888-444-PAIN,
INC. and Accident and Wellness Centers LLC. Attached hereto as Exhibit 6 is a true copy of the
printout of the incorporation record for 888-444-PAIN, INC. and Accident and Wellness Centers
LLC found at the web site <www.sunbiz.org>, the Florida Department of State Division of
Corporation online database.

30. By way of the August 12, 2009 letter, Mr. F oss was on notice of Broward Rehab’s
objections to Mr. Foss’s unauthorized use of 888-444-PAIN, of Broward Rehab’s request to
cease and desist use of the confusingly similar 888-444-PAIN and Broward Rehab’s intentions to
seek further legal redress if Mr. Foss did not comply. As of the filing of this complaint, Foss &
Companies has failed to comply with Broward Rehab’s requests.

31. Foss & Companies’ continue to use 888-444-PAIN in its advertising in direct
competition with and/ or related to the same services offered by Broward Rehab and this use is
likely to cause confusion. To address this injury, Broward Rehab must pursue this action to
protect and enforce its valuable service mark rights.

WILLFULNESS AND BAD FAITH OF MR. FOSS and
888-444-PAIN, INC AND ACCIDENT AND WELLNESS CENTERS LLC

32. By reason of Broward Rehab’s prior and extensive use of the 411PAIN marks and
the extensive advertising expenditures, it is reasonable to infer that F oss & Companies had, prior
to the acts complained of herein and continuing throughout their use of 888-444-PAIN, complete
and full knowledge of Broward Rehab’s prior rights in the marks 411PAlN, 800-41 l-PAIN, and
411PAIN.COM.

33. Since the granting of a federally registered service mark, Registration No.
2,621,487 for the mark 411PAIN on September 17, 2002, Foss & Companies had constructive

knowledge of Broward Rehab’s rights to the 411PAIN mark and, since the receipt of the demand
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letter on August 17, 2009, they had actual notice of Broward Rehab’s rights in the 411PAIN
mark, the 800-411PAIN mark and the 411PAIN.COM mark.

34. Therefore, Foss & Companies continued ownership of the domain
888444PAIN.COM and use of 444-888-PAIN for the same services as Broward Rehab
constitutes and ongoing, knowing, willful and bad faith violation of Broward Rehab’s service
mark rights.

DAMAGES TO BROWARD REHAB

35. The relevant consuming public is and will be confused or deceived into
mistakenly attributing to or associating with Broward Rehab the services to which the 888-444-
PAIN marks are associated Broward Rehab has no affiliation with and no control over the use of
the telephone number, 888-444-7246 linked to the mark 888-444-PAIN, or control over the mark
888-444-PAIN, or over the competitive services to which the 888-444-PAIN is associated Such
confusion threatens to undermine the market for Broward Rehab’s services, and will irreparably
injure Broward Rehab’s goodwill in 411PAIN marks and otherwise harm Broward Rehab’s
business reputation.

36. The relevant consuming public is and will be confused or deceived into
mistakenly attributing to or associating with Broward Rehab the domain name
888444PAIN.COM. Broward Rehab has no affiliation with and no control over the use of the
domain name and therefore, such confusion threatens to undermine the market for Broward
Rehab’s services, and will irreparably injure Broward Rehab’s goodwill in 411PAIN marks and
otherwise harm Broward Rehab’s business reputation.

37. The relevant consuming public is and will be confused or deceived into
mistakenly attributing to or associating with Broward Rehab the services offered Foss &

Companies. The trade name 888-444-PAIN, INC. is confusingly similar with Broward Rehab’s

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use of the marks 411PAIN and 800-411PAIN and 411PAIN.COM and such confusion threatens
to undermine the market for Broward Rehab’s services, and will irreparably injure Broward
Rehab’s goodwill in 411PAIN marks and otherwise harm Broward Rehab’s business reputation.

38. Foss & Companies actions described above ( 1) are likely to affect interstate
commerce by deceiving or confusing the public throughout the nation, including but not limited
to, South Florida; (2) constitute a false designation of the origin of the 888-444-PAIN mark with
its associated telephone number 888-444-7246, the 888444PAIN.COM domain name, and the
888-444-PAIN, INC. trade name and those services to which the marks, telephone number, the
domain name and the company is linked; (3) falsely suggest a non-existent connection between
Foss & Companies and Broward Rehab; (4) falsely suggest that Broward Rehab has sponsored,
licensed or approved of Foss & Companies’ use of the mark 888-444-PAIN, the domain
888444PAIN.COM and the trade name 888-444-PAIN, INC; and/or have diluted, damages,
blurred and tarnished the distinctive quality and value of Broward Rehab’s marks and continues
to do so. Such confusion, infringement, unfair competition, and cybersquatting are and will
continue to irreparably injure Broward Rehab’s goodwill, business reputation and marks.

39. All conditions precedent to the bringing of this action, have either been satisfied
or have been waived by Defendants.

FIRST CAUSE OF ACTION
(Federal Service Mark Infringement Under the
Lanham Act §§ 32 and/or 43(a), 15 U.S.C. §§ 1114 and/or 1125(a))

40. Broward Rehab realleges and incorporates herein by reference the allegations of

paragraphs 1-39 of the Complaint as set forth above.

41. By using 888-444-PAIN, 888444PAIN.COM and 888-444-PAIN, INC. With

knowledge that Broward Rehab owns and has used, and continues to use, its 411PAlN service

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marks in South Florida and across the United States, Foss & Companies has intended to cause
confusion and/or mistake and/or to deceive consumers

42. Foss & Companies’ unauthorized use of 888-444-PAIN, 888444PAIN.COM and
888-444-PAIN, INC. for the same services offered by Broward Rehab through the promotion of
its distinctive 411PAIN marks, including the registered mark 411PAlN, Reg No. 2,621,497, is
calculated to and is likely to deceive, mislead and confuse the relevant consumers as to an
affiliation, connection, or association with Broward Rehab or as to the origin, sponsorship or
approval of Defendants’ web site, services or commercial activities by Broward Rehab. Such
actions therefore constitute service mark infringement in violation of §§ 32 and/or 43(a) of the
Lanham Act, 15 U.S.C. §§ 1114 and/or 1125(a).

43. As a proximate result of the acts of Foss & Companies as alleged herein, Broward
Rehab has suffered and will continue to suffer great damage to its business, goodwill, reputation,
and profits, while Defendants have profited from their wrongdoing

44. Broward Rehab has no adequate remedy at law for the infringement of its service
marks as alleged herein. Unless the use of 888-444-PAIN, 888-444-PAIN, INC. and
888444PAIN.COM are permanently enjoined by the Court pursuant to § 1116 and the domain
transferred to Broward Rehab, Broward Rehab will continue to suffer irreparable harm.

45 . Broward Rehab is entitled to recover from Foss & Companies all damages it has
and may later sustain due to Foss & Companies’ improper conduct and is further entitled to
recover Defendant’s profits obtained from it improper conduct, in an amount to be proven and
trebled, pursuant to 15 U.S.C. § 1117.

46. The actions of Foss & Companies have been willful and deliberate and amount to
exceptional circumstances, justifying an award of attomey’s fees to Broward Rehab pursuant to

15 U.S.C. §1117.

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SECOND CAUSE OF ACTION
(Federal Unfair Competition Under the

Lanham Act §§ 43(a) and/or 43(d)(1), 15 U.S.C. §§ 1125(a) and/or 1125(d)(1))

47. Broward Rehab realleges and incorporates herein by reference the allegations of
paragraphs 1-39 of the Complaint as set forth above.

48. Broward Rehab’s 411PAIN marks are inherently distinctive and has become
exclusively associated with and exclusively identifies Broward Rehab’s business and services.

49. By reason of Foss & Companies’ wrongful use of the mark 888-444-PAIN to
identify the same services as Broward Rehab’s 411PAIN marks and the wrongful use of the trade
name 888-444-PAIN, INC. to identify a company associated with the same services as those
offered by Broward Rehab, consumers are likely to believe that the 888-444-PAIN mark and
888-444-PAIN, INC. trade name originate with Broward Rehab, is sponsored or otherwise
approved by Broward Rehab, when in fact the mark and trade name have no connection
whatsoever with Broward Rehab and are neither approved or sponsored by Broward Rehab.

50. By reason Foss & Companies’ wrongful acquisition, continued ownership of the
domain name 888444PAIN.COM to identify a business web site that previously offered services
not emanating from Broward Rehab consumers are likely to believe that Foss & Companies’
domain and web pages originated with Broward Rehab, is sponsored or otherwise approved by
Broward Rehab or otherwise affiliated with Broward Rehab, when in fact the domain name
888444PAIN.COM have no connection whatsoever with Broward Rehab. The domain
888444PAIN.COM continues to be advertised on the lnternet by third party web sites.

51. By using 888-444-PAIN, 888444PAIN.COM and 888-444-PA1N, INC. with

knowledge that Broward Rehab owns and has used, and continues to use, its 411PAIN service

marks in South Florida and across the United States, Foss & Companies actions constitutes

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v

intentional conduct to make false designation of origin and false descriptions about Defendants
services and commercial activities.

52. Foss & Companies’ unauthorized, misleading and willful use of 888-444-PA1N as
a mark, as a domain and a trade name constitutes: (a) unfair competition/passing off; (b) false
designation of origin; (c) false or misleading descriptions or representations of fact; (d) service
mark infringement; and (e) false advertising, all of which is likely to cause confusion, or to cause
mistake or to deceive consumers as to an affiliation, connection or association between Broward
Rehab and F oss & Companies as to the origin, sponsorship or approval of Defendants’ services
and commercial activities, in and affecting interstate commerce, all in violation Lanham Act §§
43(a) and/or 43(d)(1), 15 U.S.C. §§ 1125(a) and/or 1125(d)(1).

53. As a proximate result of the acts of Defendants as alleged herein, Broward Rehab
has suffered and will continue to suffer great damage to its business, goodwill, reputation, and
profits, while Defendants had profited at Broward Rehab’s expense.

54. Broward Rehab has no adequate remedy at law for the infringement of its service
marks as alleged herein. Unless the use of 888-444-PAIN, 888444PAIN.COM and 888-444-
PAIN, INC. are permanently enjoined by the Court pursuant to § 1116 and the domain
transferred to Broward Rehab, Broward Rehab will continue to suffer irreparable harm.

55. Broward Rehab is entitled to recover from Foss & Companies all damages it has
and may later sustain due to Foss & Companies’ improper conduct and is further entitled to
recover Defendant’s profits obtained from it improper conduct, in an amount to be proven and
trebled, pursuant to 15 U.S.C. § 1117.

56. The actions of Defendant have been willful and deliberate and amount to
exceptional circumstances, justifying an award of attorney’s fees to Broward Rehab pursuant to

15 U.s.C. §1117.

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THIRD CAUSE OF ACTION
(Federal Cybersquatting Under Lanham Act § 43(d), 15 U.S.C. § 1125(d)(1)(A))

57. Broward Rehab realleges and incorporates herein by reference the allegations of
paragraphs 1-39 of the Complaint as set forth above.

58. Broward Rehab’s 411PAIN marks are distinctive as used in connection with
advertising agency services, providing medical information in the field of pain, general health
care services and general informational services and is strong and indeed, famous, as a result of
Broward Rehab’s prominence in the marketplace and its extensive advertising promotion and
sale of services in connection with the 411PA1N marks.

59. Subsequent to Broward Rehab’s first use of it’s 411PAIN marks and the marks’
acquisition of fame and celebrity, Foss & Companies acquired and/or used the domain name
888444PA1N.COM and diverted Intemet traffic to its web site that advertised the same services
as Broward Rehab, services that are competitive with, related to or complementary to those
offered by Broward Rehab in connection with 411PAlN.COM.

60. Foss & Companies has wrongfully registered, trafficked in, and/or use the Internet
domain name 888444PAIN.COM, which is and was known by Foss & Companies to be
confusingly similar to and/or dilutive of Broward Rehab’s 411PAIN marks, which were
distinctive and/or famous at the time of registration of the domain name. As a result, consumers
and others have been and will continue to be erroneously led to believe that Foss & Companies’
domain name originated with or was sponsored or otherwise approved by Broward Rehab, in
violation of§ 43 (d) ofthe Lanham Act, 15 U.S.C. § 1125(d)(1)(A).

61. Foss & Companies aforementioned acts were committed with the bad faith intent
to profit from or trade off the fame, reputation and brand recognition inherent in Broward

Rehab’s 411PAIN marks.

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62. Foss & Companies’ registration and use of the domain name 888444PAIN.COM
is likely to cause confusion with respect to Broward Rehab’s 411PAIN marks and is dilutive of
Broward Rehab’s distinctive 411PAIN marks.

63. Foss & Companies’ acts constitute cyberpiracy in violation of § 43 (d) of the
Lanham Act, 15 U.S.C. § 1125(d)(1)(A).

64. As a proximate result of Foss & Companies’ unlawful acts as alleged herein,
Broward Rehab has suffered and will, without judicial intervention, continue to suffer great
damage to its business, goodwill, reputation and profits.

65. Broward Rehab has no adequate remedy at law against the acts of cyberpiracy
committed by Foss & Companies’ as alleged herein. Unless the use of 888444PAIN.COM is
permanently enjoined by the Court pursuant to 15 U.S.C. § 1116 and the domain name
transferred to Broward Rehab pursuant to 15 U.S.C. § 1125(d)(1)(C), Broward Rehab will
continue to suffer irreparable harm.

FOURTH CAUSE OF ACTION
(Federal Dilution Under Lanham Act
§ 43(c) and or § 43(d)(1), 15 U.S.C. § 1125(c) and/or § 1125(d)(1))

66. Broward Rehab realleges and incorporates herein by reference the allegations of
paragraphs 1-39 of the Complaint as set forth above.

67. Broward Rehab’s 411PA1N marks are distinctive as used and registered by
Broward Rehab in connection with advertising agency services, providing medical information
in the field of pain, general health care services and general informational services; its registered
mark 411PAIN is incontestable and its 411PAIN marks are strong, and indeed famous as a result
of Broward Rehab’s prominence in the market place and Broward Rehab’s extensive advertising,

promotion and sale of the services in association with its marks.

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68. Foss & Companies’ wrongful and willful acquisition and use of the mark 444-
888-PA1N, the domain name 444888PAIN.COM, and the trade name 444-888-PAIN, INC. for
promoting and selling the services not emanating from, associated With or approved by Broward
Rehab, dilutes, blurs, and diminishes the distinctive quality and value of Broward Rehab’s
registered 411PAIN mark, as well as the value of the 800-411PA1N and 800-411PAIN.COM
common law marks, and diminishes and actually lessens the advertising value and selling power,
and the identity and reputation that the 411PAIN marks might otherwise convey, in violation of
15 U.S.C. § 1125(c) and/or § 1125(d)(1).

69. Foss & Companies’ aforementioned acts constitute dilution of the distinctive
quality of Broward Rehab’s marks and cause irreparable injury to Broward Rehab’s business,
reputation and goodwill in violation of § 43(c) and/or 43(d) of the Lantham Act, 15 U.S.C. §
1125(c) and/or § 1125(d)(1).

70. As a proximate result of Foss & Companies’ actions as alleged herein, Broward
Rehab has suffered and will continue to suffer great damage to its business, goodwill, reputation,
and profits.

71. Broward Rehab has no adequate remedy at law for Foss & Companies’ acts
constituting dilution. Unless the use of the mark 888-444-PA1N, the trade name 888-444-PAIN,
INC. and the domain name 888444PAIN.COM are permanently enjoined by the Court pursuant
to U.S.C. § 1116 and the domain name transferred to Broward Rehab, Broward Rehab will
continue to suffer irreparable harm.

72. Foss & Companies’ willful acts as alleged herein, constitute an intention to trade
on the recognition of the famous 411PAIN marks and Broward Rehab is entitled to recover from

F oss & Companies all damages it has and may later sustain due to Foss & Companies’ improper

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conduct and is further entitled to recover Foss & Companies’ profits obtained from their
infringing conduct, in an amount to be proved and trebled, pursuant to 15 U.S.C. § 1117.

73. The actions of Foss & Companies have been willful and deliberate and amount to
exceptional circumstances, justifying an award of attorneys’ fees to Broward Rehab pursuant to

15 U.S.C. § 1117.

FIFTH CAUSE OF ACTION
(Common Law Service Mark Infringement)

74. Broward Rehab realleges and incorporates herein by reference the allegations of
paragraphs 1-39 of the Complaint as set forth above.

75 . Broward Rehab’s common law marks, 800-411PAIN and 411PAlN.COM (which
incorporate the federally registered mark 411PAIN), first adopted and used in commerce in 1996
and 1998, respectively, in the South Florida area, are distinctive as used by Broward Rehab in
connection with advertising agency services, providing medical information in the field of pain,
general health care services and general informational services; are strong and indeed famous as
a result of Broward Rehab’s prominence in the market place and Broward Rehab’s extensive
advertising promotion and sale of the services in association with its marks.

76. Broward Rehab’s 800-411PA1N and 411PAIN.COM distinctive marks have
become exclusively associated with and exclusively identifies Broward Rehab’s business and
services, and as a result of the supervision and control exercised by Broward Rehab’s over the
nature and quality of the services offered in connection with these marks, and the extensive
advertising sale and public acceptance of the marks, these distinctive marks have acquired

celebrity symbolizing the extensive goodwill and reputation that Broward Rehab had created

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throughout the United States. Therefore, the distinctive 800-411PA1N and 411PAIN.COM marks
have acquired significant secondary meaning in the minds of the relevant public and have
become famous.

77. By reason of Foss & Companies’ wrongful and unauthorized use of the marks
888-444-PAIN and 888444PA1N.COM and the trade name 888-444-PAIN, INC., long after
Broward Rehab’s first use of 800-411PAIN and 411PAIN.COM, to identify the same services as
Broward Rehab’s 411PAH\1 marks and to identify a company associated with the same services
as those offered by Broward Rehab in the same geographical area, consumers are likely to
believe that the 888-444-PA1N and 888444PA1N.COM marks and 888-444-PAIN, INC. trade
name originate with Broward Rehab, is sponsored or otherwise approved by Broward Rehab,
when in fact the marks and trade name have no connection whatsoever With Broward Rehab,
were neither approved or sponsored by Broward Rehab, all to the detriment of Broward Rehab
and the unjust enrichment of Defendants.

78. As a consequence of Foss & Companies’ actions, consumer confusion as to the
source and sponsorship of the services offered by Defendants is inevitable and the actions of
Foss & Companies will continue to falsely suggest a connection with Broward Rehab in
violation of the common law of the state of Florida, and to the detriment of Broward Rehab and
the unjust enrichment of Defendants.

79. Foss & Companies acts of service mark infringement have caused and will
continue to cause Broward Rehab to suffer irreparable harm. Broward Rehab has no adequate
remedy at law. The use of the mark 888-444-PAIN, the trade name 888-444-PA1N, INC. and the

domain name 888444PA1N.COM must be restrained by this Court.

SIXTH CAUSE OF ACTION
(Unfair Competition in Violation of Florida Common Law)

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80. Broward Rehab realleges and incorporates herein by reference the allegations of
paragraphs 1-39 of the Complaint as set forth above.

81. Broward Rehab’s common law marks, 800-411PAIN and 411PA1N.COM (which
incorporate the federally registered mark 411PAIN), first adopted and used in commerce in 1996
and 1998, respectively, in the South Florida area, are distinctive as used by Broward Rehab in
connection with advertising agency services, providing medical information in the field of pain,
general health care services and general informational services; are strong, and indeed famous as
a result of Broward Rehab’s prominence in the market place and Broward Rehab’s extensive
advertising promotion and sale of the services in association with its marks,

82. Broward Rehab’s 800-411PA1N and 411PA1N.COM distinctive marks have
become exclusively associated with and exclusively identifies Broward Rehab’s business and
services, and as a result of the supervision and control exercised by Broward Rehab’s over the
nature and quality of the services offered in connection with these marks, and the extensive
advertising sale and public acceptance of the marks, these distinctive marks have acquired
celebrity symbolizing the extensive goodwill and reputation that Broward Rehab had created
throughout the United States. Therefore, the distinctive 800-411PA1N and 411PAIN.COM marks
have acquired significant secondary meaning in the minds of the relevant public and have
become famous.

83. By reason of Foss & Companies’ wrongful and unauthorized use of the marks
888-444-PAIN, 888444PA1N.COM and trade name 888-444-PAIN, INC., long after Broward
Rehab’s first use of 800-411PA1N and 411PAIN.COM, to identify the same services as Broward
Rehab’s 411PA1N marks and to identify a company associated with the same services as those
offered by Broward Rehab, consumers are likely to believe that the 888-444-PA1N and

888444PA1N.COM marks and 888-444-PAIN, INC. trade name originate with Broward Rehab,

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is sponsored or otherwise approved by Broward Rehab, when in fact the marks and trade name
have no connection whatsoever with Broward Rehab and are neither approved or sponsored by
Broward Rehab,

84. Foss & Companies’ unauthorized, misleading and willful use of 888-444-PAIN as
a mark, as a domain and a trade name constitutes and will full knowledge of the fame of the
411PA1N marks, intended to and did trade on the goodwill associated with the 411PAIN marks
and have misled and will continue to mislead the public into assuming a connection between
Defendants and Broward Rehab by Defendants use of 888-444-PA1N mark, domain name and
trade name in connection with the same services offered by Broward Rehab.

85. As a proximate result of the acts of Defendants as alleged herein, Broward Rehab
has suffered and will continue to suffer great damage by tarnishing of its business, goodwill,
reputation and the images associated with Broward Rehabs services.

86. Broward Rehab has no adequate remedy at law for the acts of unfair competition
as alleged herein. Unless the use of 888-444-PAIN, 888444PA1N.COM and 888-444-PAIN,
INC. are permanently enjoined by the Court, Broward Rehab will continue to suffer irreparable
harm.

87. Foss & Companies’ willful acts as alleged herein, which permit and accomplish
confusion, mislead and deceive the public as to the source of Defendants’ services and suggest a
connection with Broward Rehab, constitute acts of unfair competition with Broward Rehab in
violation of the laws of the State of Florida.

SEVENTH CAUSE OF ACTION
(State Statutor'y and Common Law Trademark Dilution
Pursuant to FLA. STAT §495.151)
88. Broward Rehab realleges and incorporates herein by reference the allegations of

paragraphs 1-39 of the Complaint as set forth above.

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89. The relevant consuming public associates With Broward Rehab an outstanding
business reputation and quality services offered under its famous 411PAIN marks.

90. F oss & Companies’ use of the mark 888-444-PAIN, the domain
888444PAIN.COM and the trade name 888-444-PA1N, lNC has diluted, damaged, blurred and
tarnished the distinctive quality and value of Broward Rehab’s marks and continues to do so.

91. The acts of Foss & Companies have caused damage to Broward Rehab by
tarnishing Broward’s business reputation and dilution or blurring the distinctiveness of Broward
Rehab’s marks in violation of the laws of the State of Florida and specifically Florida Statutes §
495.151.

92. Broward Rehab has no adequate remedy at law for the acts of unfair competition
as alleged herein. Unless the use of 888-444-PA1N, 888444PAIN.COM and 888-444-PAIN,
INC. are permanently enjoined by the Court, Broward Rehab will continue to suffer irreparable
harm.

93. By reason of the foregoing Foss & Companies are liable to Broward Rehab for
all remedies available under Florida Statues § 495.141, including but not limited to, injunctive
relief, Defendants’ profits and treble damages as compensatory damage.

PRAYER FOR RELIEF
WHEREFORE, Broward respectfully prays that the Court order the following relief:
A. That the Court enter a preliminary and permanent injunction prohibiting Defendants’,
their officers, agents, servants, employees, and/or all persons acting in privity or in concert or
participation with them or any of them, from: (1) using the confusingly similar mark 888-444-
PAIN, the associated telephone number 888-444-7246, the mark and domain name
888444PA1N.COM and the trade name 888-444-PA1N, lNC., and any confusingly similar

variations thereof, alone or in combination with any other letters, words, letter strings, phrases,

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or designs in commerce or in connection with any business or for any other purpose (including,
but not limited to, on web sites, in domain names, and as names for business entities); (2)
registering or trafficking in any domain names containing the word “PAIN,” or confusingly
similar variations thereof, alone or in combination with any other letters, words, phrases or
designs; (3) engaging in any course of conduct likely to cause confusion, deception or mistake,
or injure Broward Rehab’s business reputation or weaken the distinctive quality of Broward
Rehab’s marks:

B. A preliminary and permanent injunction requiring the current domain registrar to transfer
the <www.888444PAlN.COM> domain name to Broward Rehab:

C. A preliminary and permanent injunction requiring the current service provider of the
telephone number 888-444-7246 to transfer the telephone number to Broward Rehab, or in the
altemative, permanently disconnect the phone number:

D. A declaratory judgment declaring pursuant to § 501.211(1) that Defendants’ acts and
practices violates FDUTPA, and injunction against Defendants’ from further violating FDUTPA
by using 888-444-PAIN as a mark, trade name and domain name; and award of damages
sustained by Plaintiffs, including interest, costs, and attorney fees:

E. An award of compensatory, consequential, statutory, and punitive damages in an amount
to be determined at trial;

F. An award of interest, costs and attorneys’ fees incurred by Broward Rehab in prosecuting
this action; and

G. All other relief to which Broward Rehab is entitled

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DEMAND FOR TRIAL BY JURY

Plaintiffs demand trial by jury for all issues so triable as a matter of law.

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Dated: December 22, 2009 j n" .,
lj{esp;ct/fdl\ly Submitted,

Espinosa, Esq.

 
   

 

  

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3001 S.W. 3rd Avenue
Miami, FL 33129
Tel: 305-285-2000
Fax: 305-285-5555

Attorneysfor Plaintg`ffv

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Int. Cls.: 35 and 42
Prior U.S. Cls.: 100, 101 and 102
Reg. No. 2,621,497

United States Patent and Trademark Office Regis¢ered sep. 17, 2002

SERVICE MARK
PRINCIPAL REGISTER
411PAIN
LEWIN, RoBERT c. (UNITED sTATEs INr)IvI- FoR;PRovIDiNG MEDICALINFORMATIONIN
DUAL) THE FIELD oF PAIN; GENERAL HEALTH cARE
2659 W. OAKLAND PK BLVD sERvIcEs, IN cLAss 42 (U.s. cts 100 AND 101).

F'l`. LAUDERDALE, FL 33311

FIRST USE 7-1-1996; IN COMMERCE 7-1-1996.
FOR: ADVERTISING AGENCY, IN CLASS 35 (U.S.

CLS. 100, 101 AND 102). SER. NO. 78-077,338, FILED 8-3-2001.
FIRST USE 7-1-1996; IN COMMERCE 7-1-1996. GEOFFREY FOSDICK, EXAMINING ATTORNEY
EXH|B|T
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NOTICE OF ACCEPTANCE AND
ACKNOWLEDGEMENT OF §§8 & 15

DECLARATION
MA|L|NG DATE: Feb 19, 2009

The combined declaration of use and incontestability filed in connection With the registration identiied
below meets the requirements of Sections 8 and 15 of the Trademark Act, 15 U.S.C. §1058 and 1065. The
combined declaration is accepted and acknowledged The registration remains in force.For further
information about this notice, visit our website at: hEQ://www.uspto.gov. To review information
regarding the referenced registration, go to http://tarr.uspto.gov.

REG NUMBER: 2621497

MARK: 411PAlN

OWNERZ LEWlN, ROBERT C.
SHe-Z

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Stevan H. Lieberman

GREENBERG & L|EBERMAN, LLC
2141 W|SCONS|N AVE NW Suite C2
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The 411PA|N Pro ram
g Welcome to 411Pain.tv

Strong, credible and effective marketing is the formula for your
success. Our dynamic television and radio commercials will help
you cultivate a client base that no competitor can rival.

Competition is fierce, in today's marketplace you need the added
muscle of direct response television and the internet to build or
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directly to your target market.

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the 1st day of advertisian Market tested against national
powerhouses such as the Cochran Firm and the Lawyers Group.
Representatives from a referral service have stated, "|t is
difficult to get a foot hold in this market because of
1-800-411-PA|N."

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Find out what it’s like having personal injury attorneys in your
area courting you.

0 No Up Front Cost

0 No Set Up Fees

0 No installation Fee

¢ No Sales People

0 No Telephone Bil| Markup

Now is your chance to make 1-800-411-PA|N yours and capitalize
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As a 411 Pain Advertising Group Aftiliate you have everything you
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Call Now! Speak directly to the owner Robert on his personal cell
phone 954-658-3232 or email him at Robert@411Pain.com.

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AUTO ACCIDENT

Millions of people have car accidents every year and almost every person involved in a car accident suffers an injury to some
degree. The symptoms do not always appear immediately following the accident. It may be days or weeks before you start
feeling stiffness, headaches, numbness and other symptoms. These symptoms may also include radiating pain in arms or down
the |egs. Face and chest injuries due to air bag deployment. You may have ankle pain due to slamming on the brakes or wrist
pain from gripping the steering wheel so tightly. Sleep patterns may be effected as well as sexual function. These factors make
it important to seek medical care for diagnosis and treatment following any auto accident. Accident victims often face medical
bills, lost wages, pain and suffering and severe injuries. 1-800-411-PAIN provides help from start to finish, from filling out
difficult paperwork, to billing the responsible insurance company for you.

0 Car accident victims are entitled to 10,000 in PIP Benefits

0 Other accidents may include single car accidents, hit & runs,
and pedestrians hit by a car, you may still be entitled to 10,000
in PIP Benefits

0 If you were At-Fault you still have rights and may be entitled to
10,000 in PIP Benefits

1-800-411-PAIN is always there for you, holidays, nights, weekends, 24 hours a day, 7 days a week.

Auto Accid ent For immediate Assistance Please Call: 1,809.411_ `

 

 

P|ease fill out the information below and you will be contacted ASAP.

 

 

 

First Name Last Name
Address City

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Email Best Time to Contact
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Daytime Phone Ce|l Phone

 

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Rcrncrnm::r, after dialing , Call 411. Contact us 24 hours a day, 7 days a week. 1-800-411~

 

0 2007 All rights Reserved. | 1-800-411-PAINO

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TRADEMARK A SIGNMENT

THIS ASSIGNMENT is made between Robert C. Lewin and Guy Shapiro, by and through
the Estate of Guy Shapiro (hereinatter referred to as "‘Assignors"), and Robert C. Lewin with a
principal address of 2659 W. Oakland Pk. Blvd., Ft. Lauderdale, Florida 33311 (hereinafter referred
to as “Assignee").

WHEREAS, Guy Shapiro died on Apn`l 6, 2007 as evidenced by a true and correct copy of
the death certificate attached hereto and incorporated herewith and made part of this Assignment;

WHEREAS, the Florida state probate laws transferred all intellectual property rights in the
name of Guy Shapiro to the Estate of Guy Shapiro;

WHEREAS, Assignors adopted and are using marks for which they have filed applications
in the United States Patent and Trademark Offrce (hereinader referred to as “Marks”) which are
currently pending and / or registered and are listed in Schedule A, attached hereto and incorporated
herewith and made part of this Assignment; and

WHEREAS, Assignee is desirous of acquiring said Marks identified on Schedule A.

NOW, THEREFORE, for good and valuable consideration, the receipt of which is hereby
acknowledged, the Assignors do hereby assign, set over, and transfer to Assignee, the entire rights,
title, and interests in and to the Marks, together with the goodwill of the business symbolized by the
marks, and the identified applications for registration and registrations thereof.

IN TESTIMONY WHEREOF, Robert C. Lewin and the E

(Assignors) have caused this document to be duly landy

By:

or of the Estate of Guy Shapiro

   

 

Robert C. Lewin

By:

STATE OF FL RIDA~
COUNTY OF .
On this ~day of t , 2009 before me came Robert C. Lewin and
§ \ § 3 §§ ;\;&] mg ( fQ the Executor of the Estate of Guy Shapiro to me
known to be the individua described m and who executed the foregoing instrument and duly

acknowledged that she/he executed the same.

 

ota ubl c
M. Marie Sublette
..=_ Commlssion # DD586013

EXW°S September 17, 2010
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Case 9:O9-cv-82448-KLR Document 1 Entered on FLSD Docket 12/22/2009 Page 30 of 59

SCHEDULE A
Registration No. 2621497 (411PAIN)
Registration No. 2750243 (GET THE 41 l)
Registration No. 31 10019 (DR. B)
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Big Mouth Advertising would like to welcome our newest advertisers to the
Big Mouth Family and we hope you will patronize these quality businesses.
We are very excited to have the opportunity to work with our new advertisors
by offering them an amazing Marketing Partnership P|an, which consist of,
but is not limited to:

~ High|y visible vehicles that host/attend monthly special
events, grand openings, and trade shows.

- Drivers distribute your information daily at various locations
throughout their routes.

- We distribute your message to over 5,000 opted-in prospects
through emails.

~ We utilize numerous search engine placement resources to
ensure the highest levels of visibility on our website.

BMA WELCOMES!

Health Re|ated Advertisers:

Accident andWellness Center

4212 NorthLake Blvd, Palm Beach Gardens, FL 33410
888-444-PAIN

888444gain.com

Generic Rx

3448 WestHillsboro Blvd.
DeerfieldBeach, FL 33442
561-862-7024

GNS Chirporatic

2624 ForestHil| Blvd.

West Pa|mBeach, FL 33406
561-296-1317

Wellness MD
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Boca Raton,FL 33486

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Posted by Mike Meadows at 7[10[2009 1254 PM M,

Categories: N§w §g§§gmers

Tags: Boynton Beach Advertising Deerfield Beach Lake Worth South Florida Marketing De|ray Beach
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§§ Entries Atom 1.0
Comments Atom 1.0

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53 Comments RSS 2.0

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Monthly Archives

2009

December 2009 (1)
October 2009 (4)
September 2009 (3)
July 2009 (4)

June 2009 (8)
February 2009 (1)
January 2009 (1)
2008

Category Archives

Event (2)

Evean (4)
Franchise Growth (1)
Grand Openings (1)
Holiday (1)

NEW! (1)

New Customers (3)
News (9)
Partnership (1)
Updates (1)

What's New (1)

Recent Entries

Body Kneads Charity Event
Tuesday, December 01, 2009
Visit Franchise Broker Zakiyyah
Austin at Rutgers University -
October 31, 2009

Wednesday, October 21, 2009
Big Mouth Advertising Welcome‘s
North Carolina‘s Newest
Advertiser

Thursday, October 08, 2009

Big Mouth Advertising Welcomes
North Carolina's Newest
Advertiser

Tuesday, October 06, 2009

Big Mouth Advertising Welcomes
North Carolina's Newest
Advertiser

Monday, October 05, 2009

Big Mouth Advertising Welcomes
North Carolina's New Advertisers
Friday, September 25, 2009
Whats Happening in North
Caro|ina?

Friday, September 25, 2009

Big Mouth Scores with "Big Gift
Bags“

Saturday, September 19, 2009
Welcome New Advertisers!
Tuesday, July 14, 2009
Welcome New Advertisers!
Tuesday, July 14, 2009

Recent Comments

Crysta| on Big Mouth Advertising

Helps launch the Boca Raton
VIPER campaign
11/17/2008

December 2009

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- Com ments

No comments exist for this entry.

 

Leave a comment

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Gct the recovery
you deserve!

 

Our doctors are standing by 24/7 to answer your
questions and can see you immediately, seven days a
week. We may even be able to provide you with
transportation if necessary. Let us help you as we
have successfully done many patients in Florida.

 

Accident and wellness centers are dedicated to
helping those in need of quality Chiropractic care,
Massage and Acupuncture. Anti-aging, nutrition, and
weight loss are some of the services that we offer.
Our doctors asses the patient and treat them as a
individual that they are. Have you been in a auto
accident , we can help.

    

 

After a car accident you cALL 561-627-2821

shouldn’t have to go Today to Speak With a Doctor Now. Doctors on-ca|l
- 24/7 to answer your questions and schedule your free
through anymore pain to Consult&X_ray
get the recovery you
deserve.
C|inic locations:
5804 Jog Rd.
Rafae|s::::éc|;'&'aa%dck°be't La ke Worth FL, 33467 or
, . .
Z>>Auto Injuries 4212 Northlake Blvd.
SBack Pain Palm Beach Gardens F|, 33410
week Pain Chiropractors that care.
SWhiplash

Z>Massage Therapists On Call 24/7
§>Same Day Appointment
$>Call And See Doctor Today

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Home | About Us| FAQ | Services | Testimonia|s l Contact

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2 of2 12/8/200912:33 PM

Case 9:09-cv-82448-KLR Document 1 Entered on FLSD Docl<et 12/22/2009 Page 36 of 59

Stevan H. Lieberman ~ MD. DC
Michae{ L. Greenberg - MD

GREENBERG & LlEBERM/il\l iii wom-

 

O[ Counsel:
PA TENTs v TRADEMA RKs v CoP YleHTs ~ DoMAI/v NAMES "'°"°r“b'€ J°h" A"d€r$°"
PRosECUTm/v ~ LlrlGA 110N » ARBlTRA 110/v - L1CE/vsl/va
August 12, 2009
Mr. Rafael Foss VIA CERTIFIED MAIL

4212 Northlake Blvd.
Palm Beach Gardens, FL 33467

RE: lnfringement by Use of 888-444PAIN
Our File No. 0347-20

Dear Mr. Foss:

Greenberg & Lieberrnan, LLC represents Robert C. Lewin With respect to trademark,
unfair competition, copyrights and other intellectual property matters. Our client has used the
mark 411PAIN since 1996 and has a registered trademark, Registration No. 2621497, for the
mark 411PAlN, Moreover, our client is the registrant of the domain name 411PAIN.COM that is
used to advertise his services via numerous “video commercials.” These commercials, as well as
other television commercials, are broadcast throughout the southern Florida geographical area
and are protected by common law copyrights

Our client has 13 years of established rights in the mark 411PAIN and 800-411-PAIN in
the United States in association with advertising services, legal services, medical services and
medical information services in the field of pain. As a result of our client’s extensive use of

411PAlN, 800-411-PAIN and 411PAIN.COM the rights to these marks have become a valuable
asset that our client intends to protect

Recently, our client became aware that the domain 888444PAIN.COM is being used 1) to
broadcast video commercials with content that are strikingly similar to our client’s commercials
and 2) to divert traffic from our client’s web page located at 411PAIN.COM to the confusineg
similar 888444PAIN.COM domain and web page that offers the same or similar services as our

client, Moreover, these same commercials are being broadcasted through various outlets,
including but not limited to, Channel 39 in Ft. Lauderdale, Florida.

The Digital Millennium Copyright Act of 1998 (DMCA) allows a copyright holder to
send notice to registrars and service providers that they are assisting an infringer in a copyright
violation and therefore, must pull down and/or discontinue broadcasting digital images that
infringe another’s’ copyrighted materials. We were authorized to send such letters to 1)
Melbourne IT, LTD D/B/A Intemet Names Worldwide, the registrar where the domain name
888444PAIN.COM was currently registered, 2) Yahoo! Inc., the hosting company for the
domain name 888444PAIN.COM, and 3) Channel 39, the Ft. Lauderdale, FL company that is
broadcasting commercials that advertise the 888444PAIN commercials Enclosed with this letter
is a copy of that letter that was sent on or about July 14, 2009.

2141 Wisconsin Avenue, N.W., Suite C-2 - Washington, D.C. 20007 - To|l-Free: (888) 275-2757
Phone: 202-625-7000 - Fax: 202»625-7001 - www.APLega|.com - info@APLegal.com

 

Case 9:09-cv-82448-KLR Document 1 Entered on FLSD Docket 12/22/2009 Page 37 of 59

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2
Mr. Rafael Foss
August 12, 2009

Yahoo! Inc. complied with the DMCA letter and “pulled down” the web pages associated
with the domain name 888444PAIN.COM. ln the course of our investigation, we determined
that you are the person that authorized the broadcast of commercials that included the mark
888444PAIN and the same or similar content as is broadcasted by our client, Mr. Lewin.

Mr. Lewin did not grant permission for you to use material that is the same of similar to

his copyrighted commercials and confusineg similar to his registered mark 411PAIN and his
mark 800-411-PAIN.

You are hereby notified that our client objects to your unauthorized use of a mark that is
confusineg similar to his marks 411PAIN and 800-411-PAIN. Your malicious use of our
client’s intellectual property is unlawful and causes irreparable harm to the reputation, goodwill
and rights associated with our client’s exclusive trademark. Moreover, you are hereby notified

that our client objects to your unauthorized use of material that infiinges the copyrighted material
created by our client.

Accordingly, demand is hereby made that you, Rafael Foss, immediately cease and
desist from any use and/or exploitation (and/or contributing in any manner, by any method,
process or means to any unauthorized use and/or exploitation by a third party) of any and all of
our client’s intellectual property including, without limitation, the intentional use of a mark that
is confusingly similar to a competitors trademark by using the domain name 888444PA1N .COM,
advertising the mark 888-444-PAIN through the web pages located at 888444PAIN.COM and
through Channel 39’s broadcast of your commercials Rafael Foss knowingly and intentionally
diverted Mr. Lewin’s customers away from our client’s web site and to a competitors web pages.
Mr. Foss’ actions have caused damages to Mr. Lewin in the form of lost customers, lost profits,
lost market share and the diminution of trademark identification

On behalf of our client, we are hereby formally placing Rafael Foss on notice that his use
of the 888444PAIN trademark is an unfair trade practice, which is a violation of unfair
competition laws. We therefore demand that you provide to us within TEN (10) days from the
date of this letter, your Written assurance that Rafael Foss has done the following:

1. lmmediately ceased all use and all future use of any domain name, mark or phrase that is
confusingly similar to Mr. Lewins’ trademarks 411PAIN and 800-41 l-PAIN; and

2. Immediately contacted Mr. Charles Senit at 312-222-9100, the legal counsel for Channel
39, 200 E. Las Olas Blvd., Ft. Lauderdale, FL 33301 and instruct Mr. Senit that Channel
39 must immediately cease and desist broadcasting your commercials that incorporate

888444PAIN and any other confusineg similar mark to our client’s mark 800-411-PAIN
and 411PAIN.

_ Should you fail to comply in a complete and timely manner with the demands set forth in
this letter be advised that any continued use or exploitation of our clients’ intellectual property

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3
Mr. Rafael Foss
August 12, 2009

will constitute intentional infringement of our client’s exclusive rights to the mark 411PA1N and
800-41 l-PAIN which will entitle our client to seek additional damages.

Be further advised that in the event you fail to comply with the demands made herein, our
client shall without further notice or formality take whatever legal action he deems necessary and
appropriate to protect his rights in the mark 411PAIN and 800411PA1N, including, without
limitation, commencing legal action against Rafael Foss in the unlawful activities in which you
are engaged Such actions would seek statutory and punitive damages with respect to, without
limitation, act(s) of trademark infringement and copyright infringement Such damages could
also include, without limitation, any and all profits you have derived from the unlawful use of the
mark 888444PAIN including, attorneys fees, punitive damages and interest and/or such other
damages as may be available to our client.

This letter is not a complete statement of our client’s rights or an exhaustive listing of all
facts relating to the claims set forth herein. Nothing contained in or omitted from this letter shall
be deemed to be an admission of any fact or a waiver of any rights or remedies with respect to
the subject matter hereof, all of which rights and remedies are hereby expressly reserved.

Please contact us as Greenberg & Lieberman, LLC immediately in order to avoid further

liability
Respectfully,
¢
Stevan H. Lieberman, Esq. (stevan@aplegal.com)
Debora J. McCormick, Esq. (deb@aplegal.com
Greenberg & Lieberman, LLC
Enclosures:

Registration No. 2621497
July 14, 2009 DMCA Letter

cc: Robert C. Lewin
Channel 39 / Marilyn Hanson and Mr. Senit

Case 9:O9-cv-82448-KLR Document 1 Entered on FLSD Docket 12/22/2009 Page 39 of 59

    
      

-SEN DER: COMPLETE THIS SECTION COMPLETE TH/S SECT»'ON CN DELIVERY `

l Complete items 1, 2, and 3 Also complete
` . item 4 if Restrlcted Delivery ls desired.
l Prlnt your name and address on the reverse

 

 

 

 

so that we can return the card to you. Wed by (p,,n d Name)
l Attach this card to the back of the mailpiece, g /
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No Events No Name History

Detail by Entity Name

Florida Profit Corporation
888-444-PA|N, |NC.

 

Fi|ing |nformation

Document Number P08000076471
FEl/E|N Number 263189939

Date Filed 08/15/2008
State FL
Status ACT|VE

Principal Address

4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Mai|ing Address

4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Registered Agent Name & Address

FOSS, RAFAEL
4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Name Changed: 04/28/2009
Address Changed: 04/28/2009
OfficerlDirector Detai|
Name & Address

Tit|e MM

FOSS, RAFAEL
4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

 

Annua| Reports

Report Year Filed Date
2009 04/28/2009

Document |mages

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Note: This is not official record. See documents if question or conflict.l

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Entity Name Search
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Events Name Histog l

 

Detai| by Entity Name
Florida Limited Liabi|ity Company

 

ACC|DENT AND WELLNESS CENTERS LLC
Fi|ing information

Document Number L07000115512
FE|lE|N Number 412258357

Date Filed 11/15/2007

State FL

Status ACT|VE

Effective Date 11/14/2007

Last Event LC NAME CHANGE

Event Date Filed 12/20/2007
Event Effective Date NO NE

Principal Address

4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Mai|ing Address

4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Registered Agent Name & Address

 

FOSS, RAFAEL
4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33462 US

Address Changed: 04/28/2009
Manager/Member Detai|

 

Name & Address
Title MGRM

FOSS, RAFAEL
4212 NORTHLAKE BLVD
PALM BEACH GARDENS FL 33410

Annua| Reports

Report Year Filed Date
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2009 04/28/2009

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2009 L|N||TED L|AB|L|TY COlV|PANY ANNUAL REPORT FlLED

DOCUMENT# L07000115512

Entity Name: ACC|DENT AND WELLNESS CENTERS LLC

Current Principal P|ace of Business:

4212 NORTHLAKE BLVD
PALM BEACH GARDENS, FL 33410

Current Mai|ing Address:

4212 NORTHLAKE BLVD
PALM BEACH GARDENS, FL 33410

FE| Number: XX-XXXXXXX FE| Number App|ied For ( )

Name and Address of Current Registered Agent:

FOSS, RAFAEL
500 SCOT|A DR. APT. 303
HYPOLUXO, FL 33462 US

FE| Number Not Applicab|e ( )

Apr 28, 2009
Secretary of State

New Principal P|ace of Business:

New Mai|ing Address:

Certificate of Status Desired ( )

Name and Address of New Registered Agent:

FOSS, RAFAEL
4212 NORTHLAKE BLVD
PALM BEACH GARDENS, FL 33462 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both,

in the State of Florida.
SlGNATURE: RAFAEL FOSS

04/28/2009

 

Electronic Signature of Registered Agent
MANAG|NG MEMBERs/MANAGERS:

Tit|e: ll/lGRl\/l ( ) Delete
Name: FOSS, RAFAEL
Address: 500 SCOT|A DR. APT. 303

City-St-Zip: HYPOLUXO, FL 33462

Date
AoDiTloNs/cHANGEs:

Tit|e: ll/lGRl\/l (X)Change ( )Addition
Name: FOSS, RAFAEL
Address: 4212 NORTHLAKE BLVD

City-St-Zip: PALM BEACH GARDENS, FL 33410

l hereby certify that the information supplied With this filing does not qualify for the exemption stated in Chapter 119, Florida
Statutes | further certify that the information indicated on this report is true and accurate and that my electronic signature

shall have the same legal effect as if made under oath; that l am a managing member or manager of the limited liability company
or the receiver or trustee empowered to execute this report as required by Chapter 608, Florida Statutes

S|GNATUREZ RAFAEL FOSS

l\/| |\/| 04/28/2009

 

Electronic Signature of Signing Managing l\/lember, l\/lanager, or Authorized Representative / Date

Case 9:O9-cv-82448-KLR Document 1 Entered on FLSD Docl<et 12/22/2009 Page 45 of 59

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.

ROBERT C. LEWIN, individually,
and BROWARD REHAB CENTER INC.

Plaintiffs
v.
RAFAEL FOSS, individually, 888-444~PAIN,
INC.and ACCIDENT AND WELLNESS
CENTERS LLC

Defendants

 

DECLARATION OF BARRY RAXENBERG

l, Bany Raxenberg, being duly sworn, declare:

l. I am over 18 years of age, and I am an authorized Licensee of the 411PA1N mark
from the l§roward Rehab Center Inc.
2. l am a Florida licensed Chiropractor with offices at Delray Beach, West Palm
Beach and Port St. Lucie. I have personal knowledge of the facts set forth herein, and if called to
testify, l could and would testify competently thereto.

3. On November 10, 2009 our offices received a phone call from Ms. Ton,ia
Williams» Soloman.

4. Ms. Wi]liams-Soloman was very upset and complained that the offices were very

unprofessional It was not a 41 lafflliated medical office

Case 9:O9-cv-82448-KLR Document 1 Entered on FLSD Docl<et 12/22/2009 Page 46 of 59

5. l asked Ms. Williains-Soloman which office she had been when she was treated
unprofessionally and she provided me with the address: 4212 Northlake Blvd, Palm Beach
Gardens, Fl 33410.

6. l explained to Ms. Williains~Solomon that said office address is not one
maintained by and associated with 411PAIN and 800-411PAIN with the associated phone
number 800-411-7246.

7. Ms. Williams-Solonian stated that she called 800»411PAIN in order to reach the
4212 Northlake Blvd office and was told by Dr. Foss that the office was a 411PAIN office.

8. Clearly, Ms. Williams-Soloman was confused because the 800-411-7246 number
is not associated with Dr. Foss’s 4212 Northlake Blvd office

l declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the forgoing is true

 

and correct, and that this declaration was executed on December , 2009, at West Palm
Beach, Florida.

Bariy Raxenberg

Signatui:e/ /

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\Case 9:O9-cv-82448-KLR Document 1 Entered on FLSD Docl<et 12/22/2009 Page 47 of 59

UNITED STATES DISTRICT COURT
SOUTHERN DISTR_ICT OF FLORIDA

Case No.

ROBERT C. LEWlN, individually,
and BROWARD REHAB CENTER INC.

Plaintiffs
V.
RAFAEL FOSS, individually, 888-444~PAIN,
INC. and ACCIDENT AND WELLNESS
CENTERS LLC

Defendants

V\/W\,/\./\/\_/\./\_/\./\/\J\J

 

l, Robert Lewin, being duly sworn_. declare:
1. l am over 18 years of age, and l am the owner of Broward Rehab Center
Inc., (Hereinafter “Broward Rehab”), with a primary business address of 2659 W.
Oakland Park Blvd, Oakland Park, FL 33311. l have personal knowledge of the facts set
forth herein, and if called to testify, l could and would testify competently thereto
2. l, Robert Lewin, a Florida resident, have been the owner / President of
Broward Rehab since 1995 and am a Florida registered Chiropractor.
3. Broward Rehab places advertisements for all of my Chiropractic offices
including:
a. Broward Rehab, 2659 West Oakland Park, Blvd, Oakland Park FL 33311;
b. Hollywood Injury Rehabilitation, Inc. 2544 N. State Rd. 7, Hollywood

Florida, 33021;

Case 9:09-cV-82448-KLR Document 1 Entered on FLSD Docket 12/22/2009 Page 48 of 59

Dade lnjury Rehabilitation, Inc., 17325 NW 27th Ave, Suite 111, Miami

9

Gardens, FL 33056;
d. Metro Injury & Rehab Center, Inc, 17971 Biscayne Blvd, suite 103,
Aventura FL 33160;
e. Metro Injury, LLC, 2460 Highway 100 South, St. Louis Park, MN 55416;
and
f. Metro Injury: LLC, 1821 St. Ciair Avenue, St. Paul, MN 55105.
4. The above listed offices have over 100 full and part time employees

combined

5. Broward Rehab has been in business since November 1995; Hol]ywood
Injury Rehabilitation has been in business since 1997; Dade Injury Rehabilitation has
been in business since 1998; Metro Injury & Rehab Center, Inc has been in business since
2002.

6. Since 1996 Broward Rehab has spent in excess of $13 Million promoting
its 800~411PAIN mark in numerous states, including, but not limited tot Florida,
Massachusetts, Minnesota, Georgia, on multiple formats including television_. radio, print
and the Internetl

7. l obtained access to the telephone number 800~41 1~7246 (PAIN) in 1997.

8. I advertise the 411PAIN mark in the following venues advertising in
Florida: Miami / Ft Lauderdale, West Palm, Orlando, Naples / Ft. Meyers, Ocala /
Gainesville, and Tallahassee.

9. 1 advertise the 411PAIN mark in the Minneapolis / St. Paul, Minnesota

advertising venue.

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10. 1 license the use of the 411PA1N mark in Boston Massachusetts,
Louisville, Kentucky, Mernphis Tennessee, and Atlanta Georgia.

11. A true and correct copy of Broward Rehab’s “still shots” from an
advertising video shown on Channel 39 showing the 800-411PAIN mark along with the
numbers “7246” for which the word “PAIN” represents is attached herein as Exhibit A.

12. Attached hereto as Exhibit B is a true and correct copy of “screen shots”
of the advertisements shown on the web pages located at 411PAIN.COM showing the
advertisements relating to the domain name 41 1PAIN.COM.

13. Attached as Exhibit C is a true and correct copy of “screen shots” from a
representative example of Foss & Companies commercials as well as a number of 888~
444-PAIN and the Internet web address of <www.888444PAH\’.com>.

14, Upon information and be1ief, based on my knowledge of the records and
files in this matter, I believe that all the Exhibits A though C, including those attached
hereto, submitted concurrently herewith, which are incorporated herein by reference, are
true and correct copies of the documents which they report m be_

l declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the forgoing is

true and correct, and that this declaration was executed on December , 2009, at

Oakland Park, Florida.

Robert Lewin

M/

Signature

 

 

 

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Case 9:09-cV-82448-KLR Document 1 Entered on FLSD Doci<et 12/22/2009 Page 59 of 59
C|VlL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as
required by |aw, except as provided by local rules of court. This form, approved by the Judicia| Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE |NSTRUCT|ONS ON THE REVERSE OF THE FORM.)

1 .(a) PLA|NT|FFS ROBERT C. LEWlN, individually, DEFENDANTS- RAFAEL FOSS, individually, 888-444-
and BROWARD REHAB CENTER INC m PAIN, INC. and ACCIDENT AND WELLNESS

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(d) CiRCLE COUNTY WHERE ACTION AROSE: DADE, MoNRoE, BRowARD, {ALM eEAc

 

 

 

 

 

 

 

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